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  EXHIBIT B
CHICAGO POLICE DEPARTMENT
        Case: 1:19-cv-00775
CASE SUPPLEMENTARY          Document #: 400-2 Filed: 08/08/24 Page 2 of 19 PageID #:10377
                         REPORT
                                                                                                                                                             JB444213
3510 S. Michigan Avenue, Chicago, Illinois 60653                                                                                                       Case id :      11452846
(For use by Chicago Police - Bureau of Investigative Services Personnel Only)                                                                          Sup ID :       12843240 CASR301


CLEARED CLOSED (ARREST AND PROSECUTION)                                                                            DETECTIVE SUP. APPROVAL COMPLETE
  Last Offense Classification/Re-Classification                                  IUCR Code         Original Offense Classification                                      IUCR Code

  OFFENSE INVOLVING CHILDREN / Child                                                   1750        OFFENSE INVOLVING CHILDREN / Child                                       1750
  Abuse                                                                                            Abuse
  Address of Occurrence                                                          Beat of Occur     No of Victims             No of Offenders         No of Arrested         SCR No

  223 N KEELER AVE                                                                     1114               1                          2                       2
  Location Type                                                                  Location Code     Secondary Location                                                       Hate Crime?

  School - Public Building                                                             314                                                                                  NO
  Date of Occurrence                                                             Unit Assigned     Date RO Arrived                   Fire Related?   Gang Related? Domestic Related?

 20-SEP-2018 08:45 - 20-SEP-2018 09:00                                                 1122        ***********************               NO             NO                  YES


 Reporting Officer                                 Star No             Approving Supervisor                     Star No         Primary Detective Assigned                  Star No

 CASANOVA, Alice                                      20782            CARABALLO, Kristine                          1094         CASANOVA, Alice                              20782
 Date Submitted                                                        Date Approved                                             Assignment Type

 29-OCT-2018 23:37                                                     29-OCT-2018 23:52                                         FIELD

THIS IS A FIELD INVESTIGATION CLEARED CLOSED (ARREST AND PROSECUTION) REPORT

  CHILD AT RISK(S) :                                           CHAMP, Nakyya                                                                                 -- Juvenile
                                                                   Female / Black / 10 Years                                                                 --
                                                                   DOB: 04-APR-2008
                                                                   RES: 3817 W West End Ave 1
                                                                        Chicago IL 60624
                                                                        815-345-7037
                                                                   EMPLOYMENT:                Student
  VICTIM(S) :                                                  CHAMP, Jomuary J                                      TYPE: Individual                        -- Juvenile
                                                                   Male / Black / 9 Years                                                                    --
                                                                   DOB: 27-MAR-2009
                                                                   RES: 3817 W West End Ave 1
                                                                        Chicago IL 60624
                                                                        815-345-7037
                                                                   EMPLOYMENT: Student 4th Grade
                                                                   SCHOOL NAME: George W. Tilton

                                                                   SOBRIETY: Sober
                                                                                                                                                                                         JB444213


  OFFENDER(S):                                                 TYLER, Juanita S                                                                              -- In Custody -
                                                                   Female / Black / 55 Years                                                                 -
                                                                   DOB: 26-SEP-1962
                                                                   RES:         3638 W Thomas St 2
                                                                                Chicago IL 60651
                                                                   BIRTH PL:           Illinois
                                                                   DESCRIPTION:               5'04,150



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                                                                 DETECTIVE SUP. APPROVAL COMPLETE


                                 SCAR MARKS:          Heart Tattoo on Chest
                                 OCCUPATION: Cna

                                 IR #:    1016558                 CB #: 19709323
                                 SID #:     32037870              FBI #: 349293RA4

                                 RELATIONSHIP OF VICTIM TO OFFENDER:

                                          CHAMP, Jomuary          Aunt


                                HAYNES, Kristen A                                                 -- In Custody -
                                 Female / Black / 50 Years                                        -
                                 DOB: 16-MAY-1968
                                 RES:       1715 W Lake St
                                            Chicago IL 60612
                                 BIRTH PL:      Illinois
                                 DESCRIPTION:         5'05,210,Black Hair, Short Hair Style, Brown Eyes, Dark
                                                      Complexion
                                 SCAR MARKS:          Rainbow Butterfly Tattoo on Left Ankle
                                                      Taurus Head Symbol Tattoo on Upper Left Leg
                                                      Teddy Bear Tattoo on Right Hip
                                                      Indian Head Circles Around Arm Tattoo on Upper Right Arm
                                                      Cross And Prayer Hands 04-04-10 Tattoo on Chest
                                                      Olivia Cross Rose 10-11-08 Tattoo on Upper Left Arm
                                 OCCUPATION: Cps School Teacher

                                 OTHER COMMUNICATIONS:
                                     Phone - 312-501-0559
                                     Cellular :
                                     Phone - 773-534-6746
                                     Business
                                     :
                                 DLN/ID:     H52050168740 - IL
                                 IR #:    2386754                 CB #: 19707438


                                 RELATIONSHIP OF VICTIM TO OFFENDER:

                                          CHAMP, Jomuary          No Relationship
                                          CHAMP, Jomuary          No Relationship
VICTIM INJURIES                 CHAMP, Jomuary J
                                 Type                  Weapon Used                  Weapon Description
                                 Abrasion              Other                        Other - Belt
                                 EXTENT: Minor

LOCATION OF INCIDENT:            223 N Keeler Ave
                                 Chicago IL 60624
                                 314 - School - Public Building

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                                                                 DETECTIVE SUP. APPROVAL COMPLETE


DATE & TIME OF INCIDENT:          20-SEP-2018 08:45 - 20-SEP-2018 09:00
MOTIVE CODE(S):                   Other


CAUSE CODE(S):                    Other


METHOD CODE(S):                   DNA

CAU CODE(S):                      DNA

DOMESTIC INCIDENT                 # CHILDREN PRESENT: 1
INFORMATION:
                                  VIOLATION TYPE:
                                  ORDER OF PROTECTION:
                                                    STATE CODE: Illinois
                                  VICTIM ADVISEMENT:          Victim Advised Of Hotline Number
                                  VICTIM ADVISED OP PROCS: Yes
                                  VICTIM ADVISED WARR PROCS: Yes
                                      Domestic Info was Provided

PERSONNEL ASSIGNED:             Assisting Detective / Youth In
                                  DIAZ, Jose L
                                Detective / Investigator
                                  CASANOVA, Alice
                                Reporting Officer
                                  CORVERA, Angelica A                  # 18598        BEAT: 1122

WITNESS(ES) :                   HAYNES, Kristen
                                  Female / Black / 50 Years
                                  DOB: 16-MAY-1968
                                  EMPLOYMENT: Cps Teacher At Tilton Elem

                                  OTHER COMMUNICATIONS:
                                           Phone - 312-501-0559
                                           Cellular :
                                HAYNES, Kristen
                                  Female / Black / 50 Years
                                  DOB: 16-MAY-1968
                                  BIRTH PL: Illinois
                                  DESCRIPTION: 5'05,210
                                  RES:    1715 W Lake St
                                          Chicago IL 60612
                                          312-501-0559

                                  EMPLOYMENT: Cps Teacher 4th Grade
                                  BUS:     223 N Keeler Ave
                                           Chicago IL
                                  OTHER COMMUNICATIONS:


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                                                                 DETECTIVE SUP. APPROVAL COMPLETE


                                          Phone - 312-501-0559
                                          Residenc
                                          e:
                                  DLN/ID: H52050168740 - IL


OTHER INDIVIDUALS               CHAMP, Nakyya                                                     ( Child At Risk )
INVOLVED:                        Female / Black / 10 Years
                                 DOB: 04-APR-2008
                                 RES:     3817 W West End Ave 1
                                          Chicago IL 60624
                                          815-345-7037
                                 EMPLOYMENT:         Student
                                GAINES, Asia                                                      ( Person Reporting
                                                                                               Offense )
                                 Female / Black / 31 Years
                                 DOB: 02-AUG-1987
                                 RES:     3817 W West End Ave
                                          Chicago IL 60624
                                          815-345-7037


PERSON REPORTING                GAINES, Asia
OFFENSE INJURIES
                                  CFD RESPONDING UNIT:


CRIME CODE SUMMARY:               1750 - Offense Involving Children - Child Abuse
                                  1710 - Offense Involving Children - Endangering Life / Health Of Child
IUCR ASSOCIATIONS:                1710 - Offense Involving Children - Endangering Life / Health Of Child
                                  CHAMP, Jomuary, J                                            ( Victim )
                                  HAYNES, Kristen, A                                           ( Offender )
                                  1750 - Offense Involving Children - Child Abuse
                                  TYLER, Juanita, S                                            ( Offender )
                                  CHAMP, Jomuary, J                                            ( Victim )
                                  TYLER, Juanita, S                                            ( Offender )
                                  CHAMP, Nakyya                                                ( Child At Risk )
                                  GAINES, Asia                                                 ( Person Reporting
                                                                                               Offense )
                                  TYLER, Juanita, S                                            ( Offender )
                                  CHAMP, Jomuary, J                                            ( Victim )
                                  HAYNES, Kristen, A                                           ( Offender )

ASSOCIATED ARRESTS:               19707438
                                  19709323

INCIDENT NOTIFICATIONS:           NOTIFICATION DATE & TIME: 09/20/2018:230600
                                  REQUEST TYPE:       Notification
                                 PERSON NAME:         Jodi,Grant
                                 STAR #:

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                                 EMP #:
                                 NOTIFICATION DATE & TIME: 09/20/2018:222000
                                 REQUEST TYPE:           Notification
                                 PERSON NAME:            ,Negrete
                                 STAR #:     20630
                                 EMP #:
                                 NOTIFICATION DATE & TIME: 09/20/2018:223500
                                 REQUEST TYPE:           Request
                                 PERSON NAME:            ,
                                 STAR #:
                                 EMP #:


REPORT DISTRIBUTIONS:           No Distribution

INVESTIGATION:
       THIS IS AN AREA NORTH S.V.U. FIELD INVESTIGATION REPORT


       R.D. NUMBER:
       JB-444213


       DATE, TIME OF OCCURRENCE:
       20-SEP-2018 at 0845-0900 hours


       DATE & TIME ASSIGNED:
       21-SEP-2018 at 1600 hours (In-Box)


       DATE, TIME, LOC. OF ARREST:
       #1
       HAYNES, Kristin A.
       24-SEP-2018, 1435 hours, at 223 N. Keeler, Chicago, IL 60624 (Tilton Elem. School).

       #2
       TYLER, Juanita S. aka Angel
       28-SEP-18, 1725 hours, at 3151 W. Harrison St., Chicago, IL 60612 (Police Station 011)


       LOCATION OF OFFENSE:
       Tilton Elementary School-CPS
       223 N. Keeler Avenue, Chicago, IL 60624
       773-534-6746


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                                                                 DETECTIVE SUP. APPROVAL COMPLETE




       VICTIM:
       CHAMP, Jomuary J.
       DOB: 27-MAR-2009, M/1/9yo
       3817 W. West End Avenue #1, Chicago, IL 60624
       815-345-7037 mother's cell
       Student at Tilton Elementary, 4th grade

       MOTHER:
       GAINES, Asia
       DOB: 02-AUG-1987, F/1/31
       3817 W. West End Avenue #1, Chicago, IL 60624
       815-345-7037 cell

       FATHER:
       CHAMP, Joseph
       DOB: 01-OCT-1988. M/1/30
       773-627-4203

       SIBLING(S) IN SAME HOUSEHOLD:
       CHAMP, Nakyya, DOB: 04-APR-2008, F/1/10, S/A, Student at Tilton Elem. 4th grade, is in the
       same classroom with her brother/victim.

       PROTECTIVE CUSTODY TAKEN:
       No

       CHILD WILL REMAIN AT HOME IN THE CARE OF:
       GAINES, Asia, mother
       (Demographics listed above)


       BOTH OFFENDERS IN CUSTODY:
       #1
       HAYNES, Kristen A.
       DOB: 16-MAY-1968, F/1/50
       1715 W. Lake St., Chicago, IL 60612
       312-501-0559
       CPS Teacher
       IR# 2386754
       CB# 19707438
       Arrested: 24-SEP-2018 at 1435 hours

       #2
       TYLER, Juanita S, aka Angel
       DOB: 26-SEP-1962, F/1/56
       3638 W. Thomas St., Chicago, IL 60651
       Employed as CNA
       IR# 1016558

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       SID# 32037870
       FBI# 349293RA4
       CB# 19709323
       Arrested: 28-SEP-18 at 1725 hours


       OFFENDER/VICTIM RELATIONSHIP:
       #1-HAYNES, Kristen (teacher)/CHAMP. Jomuary (Student)
       #2-TYLER, Juanita S. (Great Aunt)/CHAMP, Jomuary (Great Nephew)


       CHARGES:
       #1-HAYNES, Kristen A.
       720 ILCS 5.0/12-3-A-2, Battery: Make Physical Contact
       720 ILCS 5.0/12C-5-A-1, Cause Child to be Endangered

       #2-TYLER, Juanita S.
       720 ILCS 5.0/12-3.2-A-1, Domestic Battery: Bodily Harm


       COURT BRANCH AND DATE:
       #1-HAYNES, Kristen A.
       Branch 43-2 at 3150 W. Flournoy St.
       Date: 08-OCT-2018 at 0900 hours

       #2-TYLER, Juanita S.
       Branch 60-2 at 555 W. Harrison Street
       Date: 24-OCT-2018 at 0900 hours


       ARRESTING OFFICER(s):
       #1-HAYNES, Kristin A.
       Arrested by Det. Alice CASANOVA #20782 and Det. Jose L. DIAZ #21594

       #2- TYLER, Juanita
       Arrested by P.O. Manuel SOLIS #15093 and P.O. R. BLECHARCZYK #13030


       INJURIES:
       Linear marks and Abrasions on the back and thigh.
       Minor scratch marks on the face.

       MEDICAL TREATMENT:
       West Suburban Medical Center
       3 Erie Court, Oak Park, IL 60302
       708-383-4200
       Seen: 21-SEP-2018 at 1805 hours

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                                                                 DETECTIVE SUP. APPROVAL COMPLETE




       WEAPON/ INSTRUMENT USED:
       2 leather belts (brown and black in color)
       Hands


       MANNER:
       Offender #1/ Teacher Kristen HAYNES provided offender #2/ Great Aunt: Juanita TYLER with two
       leather belts she got out of the classroom closet. Offender #1 forcibly escorted the victim along with
       offender #2 into the locked boy's bathroom. Offender #1 returned to her classroom and offender #2
       stayed in the boys bathroom with the victim and the 2 leather belts. The victim was struck with the 2
       leather belts about the body (back and leg). The victim had linear marks and abrasions on the left
       upper back and on the back of the upper right leg. The victim also had scratch marks on the face
       caused when slapped on the face by Offender #2 Great Aunt Juanita TYLER.

       MOTIVE:
       Excessive Corporal Punishment was administered by the great aunt (who had no parental rights)
       and this act was facilitated by the teacher who provided the belts.

       PHOTO EVIDENCE TAKEN:
       Report #379633
       Overall and Close-up digital photo evidence of the victims left back and back of the upper right leg,
       along with pictures of the victim were taken.by E.T. Ashor WARDA #18586, Beat 5832, Unit 277,
       On 21-SEP-2018 at 0042 hours at the residence located at 3817 W. West End Apt #1, Chicago, IL
       60624

       R/D's took photos of the classroom #204, Closet, 2 leather belts (Brown and black on color) that
       hung in the classroom closet and the boys bathroom door with lock.


       NOTIFICATIONS:
       Special Victims Unit, Det. Zachery NEGRETE #20630

       SCR & HOTLINE NUMBERS:
       SCR#None
       File#None
       DCFS Intake #13621318

       PERSONNEL ASSIGNED:
       Beat 5375 Det. Alice CASANOVA #20782
       Beat 5374 Det. Jose L. DIAZ #21594


       D.C.F.S. INVESTIGATOR:
       DCFS Inv. Deisy ANAYA
       312-965-1775



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       INTERVIEWED:
       #1
       CHAMP. Nakyya, sister
       (Demographics listed above)

       #2
       CHAMP, Jomuary, victim
       (Demographics listed above)

       #3
       GAINES, Asia, mother
       (Demographics listed above)


       #4
       TAYLOR, Tiara, maternal Aunt
       DOB: 21-OCT-1988, F/1/29
       5647 S. Throop St. #2, Chicago, IL 60636
       773-598-6749

       #5
       CHAMP, Joseph, father
       (Demographics listed above)


       #6
       Principal Sylvia HODGE
       Tilton Elementary School
       223 N. Keeler Avenue, Chicago, IL 60624
       773-534-6746

       #7
       Assistant Principal Quishun ELROD
       Tilton Elementary School
       223 N. Keeler Avenue, Chicago, IL 60624
       773-534-6746

       #8
       LITTLE, Jai Pierre, student
       DOB: 17-OCT-08, M/1/9yo

       #9
       ATKINS, Kristen, student
       DOB: 05-DEC-2007, F/1/10yo

       #10
       BRYANT, Koby, student

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       DOB: 31-JAN-2008. M/1/10yo

       #11
       BROWN, Keishaunna, student
       DOB: 06-JAN-2009, F/1/10yo

       #12
       HAYNES, Kristen, Teacher/offender #1
       (Demographics listed above)

       #13
       TYLER, Juanita, Great Aunt/offender #2
       (Demographics listed above)




       INVESTIGATION:
       R/O's responded to a call of a battery report at the above location. Upon arrival, R/O's met with Asia
       GAINES (person reporting the offense) and mother of Jomuary CHAMP (victim) who stated that
       when the victim arrived at their residence after school, victim related to his mother that while at
       school he was taken to a bathroom by an unknown female and his 4th grade teacher Ms. HAYNES
       (witness) and was then struck repeatedly about the body with a belt and hand. victim related to
       R/O's that his teacher and the unknown female physically pulled him from his classroom into a
       bathroom, on the floor above, where his teacher gave the unknown female a belt. The victim then
       related that the unknown female struck him about the face with her hand and instructed him to pull
       down his pants. The victim related that his teacher left the bathroom at some point and the
       unknown woman continued to strike the victim with a belt about his back side and grab the victim's
       clothes in attempt to prevent the victim from leaving. The victim related that at some point the
       unknown female instructed the victim to go back to his classroom and he did. The victim's sister
       Nikyya CHAMP related that she was present when the victim was taken away from his classroom.
       After school, GAINES attempted to contact the victim's school, to no avail. GAINES then learned
       from other unknown witnesses that Juanita TYLER (offender) was the offender. The offender is a
       paternal great aunt that had no previous contact with the victim but has a personal relationship with
       the victim's teacher. GAINES then contacted HAYNES directly via her cellphone to inform HAYNES
       about the incident, which then HAYNES repeatedly apologized. GAINES refused medical attention
       on the victim's behalf. VIN/DIN issued. DCFS intake ID# 13621318. CPS student safety center
       notified Santino at 2230 hrs.

       On 21-SEP-2018 at 1600 hours, R/D was assigned, through the normal CMO case distribution
       channels, to conduct a follow-up investigation into the above Offense Involving Children: Child
       Abuse case report.


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       GAINES, ASIA, mother
       On 21-SEP-2018 at 1700 hours, R/D called Asia GAINES, the mother of Jomuary CHAMP, who
       related that on 20-SEP-2018 there was an incident involving her son Jomuary CHAMP. GAINES
       learned about the incident after school at approximately 1615 hours. GAINES relates that her son
       was pulled out of class and taken to the bathroom by an unknown female now known as Juanita
       TYLER (26-SEP-62, M/56), who is the father's Aunt. GAINES relates that her son has linear marks
       on his left upper back and on his right upper thigh. The redness is gone but it still hurts him. DCFS
       Deisy ANAYA 312-965-1775 is the assigned DCFS investigator and told GAINES to take Jomuary
       to the hospital to be checked. GAINES took her son to West Suburban Hospital. GAINES relates
       that the teacher Ms. K. HAYNES spoke with the father: Joseph CHAMP (DOB: 19-JAN-1988,
       M/1/30) the day before this incident. GAINES relates that Jomuary's father does not live with her
       and she does not know where he lives. GAINES spoke with the father Joseph CHAMPS about the
       incident in school involving her son and Joseph related that he never gave his Aunt (Juanita
       TYLER) permission to whoop their son Jomuary CHAMP. GAINES relates that she called the
       school (Tilton Elementary) and spoke with Ms. K. HAYNES who was very apologetic. GAINES
       does not know why Ms. K. HAYNES (teacher) would allow Juanita TYLER, who is not an
       immediate family member or a listed as guardian, to come to the school and just whoop (hit) her
       son Jomuary CHAMP in the locked boy's bathroom. GAINES said that the teacher Ms. K. HAYNES
       provided the belts to Juanita TYLER. GAINES relates that a CPD Evidence Technician took photos
       of Jomuary's injuries. GAINES relates that her daughter Nikyya CHAMPS is in the same classroom
       and witnessed the teacher (K. HAYNES) pulling her brother out of the classroom. GAINES wants to
       press charges and will cooperate with the investigation. R/D made arrangements with GAINES to
       come to the residence later in the evening to interview the children (Jomuary CHAMP and Nakyya
       CHAMP).

       On 21-SEP-2018 at 2025 hours, R/D's CASANOVA#20782 and DIAZ#21594 relocated to the
       victim's residence at 3817 W. West End Avenue #1 and met with the mother Asia GAINES who
       allowed R/D's into the home to interview her children (Jomuary and Nakyya CHAMP)
       independently. Also present in the home was the maternal Aunt Tiara TAYLOR.

       CHAMP. Nakyya, sister
       On 21-SEP-2018 at 2026 hours, R/D's CASANOVA and DIAZ#21594 spoke independently with
       Nakyya CHAMP (DOB: 04-APR-2008, F/1/10yo). Nakyya is in the same 4th grade classroom as
       her brother Jomuary CHAMP. Nakyya relates that her teacher's name is Ms. K. HAYNES. On said
       day of the incident involving her brother, Nakyya relates that the students were in the classroom.
       Nakyya relates that her brother was outside the classroom and had not yet come inside the
       classroom. Jomuary was at the classroom door with this unknown lady (now known as Juanita
       TYLER) and Ms. K. HAYNES (now known as teacher: Kristen HAYNES). Nakyya was near the
       front of the classroom and was able to see her brother Jomuary CHAMP, Ms. K. HAYNES and this
       unknown lady (now known as Juanita TYLER). Nakyya asked the adults at the door, what he do,
       meaning what did her brother Jomuary do. Nakyya said Ms. K. HAYNES came back inside the
       classroom and grabbed 2 leather belts, a brown and a black belt. These belts were hung in the
       classroom closet. Ms. K. HAYNES then walked out of the classroom to the hallway. Nakyya got out
       of her seat to look. The teacher Ms. K. HAYNES and this lady (Juanita TYLER) each grabbed one
       of Jomuary's arms and were walking and dragging her brother Jomuary to the boy's bathroom.
       Jomuary was crying and screaming. Ms. K. HAYNES returned to the classroom. The lady (Juanita
       TYLER) stayed in the bathroom with her brother. Nakyya could hear Jomuary screaming and

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       saying he wants his momma. Nakyya states that Ms. K. HAYNES called this lady who came to
       school to whoop her brother Jomuary over something that had happened in school the day
       before/yesterday. Nakyya states that she does not know this lady.

       CHAMP, Jomuary, victim
       On 21-SEP-2018, R/D's CASANOVA and DIAZ spoke independently with the victim Jomuary
       CHAMP (DOB: 27-MAR-2009, M/1/9yo). Jomuary is in the 4th grade, in room 204 with Ms. K.
       HAYNES. Jomuary relates that this incident occurred on Thursday, 20-SEP-2018, in the morning
       before breakfast, just before school started. Jomuary stated that everyone was in the classroom
       and he was in the hallway getting ready to enter his classroom when this unknown lady (now
       known as Juanita TYLER) pulled on him and kept him from entering the classroom and his teacher
       Ms. K. HAYNE was present. Jomuary said Ms. K. HAYNES grabbed 2 belts from the classroom
       closet. Jomuary relates that TYLER pulled him towards the bathroom and he tried to pull away.
       Jomuary relates that Ms. K. HAYNES and TYLER both carried him to the boy's bathroom. TYLER
       told Jomuary that she knew what he did and slapped him in the lip. Jomuary related that Ms. K.
       HAYNES was present when TYLER slapped him again. Jomuary said that Ms. K. HAYNES said to
       him, are you calling me a liar, while TYLER was present in the bathroom. Jomuary said Ms. K.
       HAYNES gave TYLER 2 belts from the closet. Jomuary relates that these belts are used to scare
       the kids and Ms. K. HAYNES calls the belts Ms. Brown (brown leather belt) and Ms. Black (black
       leather belt). Jomuary relates that on the day before, a student in class was clowning around and
       he got caught laughing by the teacher (Ms. K. HAYNES). HAYNES told Jomuary to get his book
       bag and to go to the hallway. Jomuary returned back to the classroom. Jomuary relates that Ms. K.
       HAYNES has belts in the classroom closet and has opened the closet door and has told the kids in
       the classroom that these belts are for the parents to use when kids are bad. Jomuary relates that
       on other occasions he has seen other student in the classroom get wacked by Ms. K. HAYNES
       with a ruler on their leg but they just laugh. Jomuary relates that this was the first time during this
       incident that he saw Ms. K. HAYNES take out the belts. Jomuary relates that Ms. K. HAYNES
       opened the locked boy's bathroom door with a key and only he and Juanita TYLER were present in
       the bathroom. Juanita TYLER told Jomuary to pull down his pants so she could discipline him and
       he responded NO. TYLER had both belts in one hand and started hitting Jomuary on the legs, butt
       and back. Jomuary relates that he cried and said I want my momma and TYLER responded I am
       your momma. Afterwards, TYLER walked the victim out of the bathroom and back to the
       classroom. Jomuary was crying and TYLER hit him one more time with the belt on the leg as he put
       his book bag on his back and then was slapped on the face. As Jomuary was walking back to his
       classroom with TYLER, Ms. K. HAYNES said he was laughing and TYLER slapped him again on
       the face, TYLER walked Jomuary into class and Jomuary walked to his seat. Jomuary said he was
       crying at his desk as TYLER walked away and Ms. K. HAYNES came back into the classroom. A
       visual check of Jomuary was done by Det. DIAZ and CASANOVA and it showed 2 linear marks on
       the left back area and 2 faint marks on the back of the right upper leg, his buttocks were sore and
       he had 2 minor scratches on the right cheek from being slapped.


       TAYLOR, Tiara, Maternal Aunt
       On 21-SEP-2018, R/D's CASANOVA and DIAZ spoke with the maternal Aunt Tiara TAYLOR
       (DOB: 21-Oct-1988, F/29, 5647 S. Throop #2, Chicago, IL 60636, 773-598-6749) who picked up
       Jomuary and Nikyya CHAMP from school at about 1600 hours because the mother works. Tiara
       also picks up her children (Kristen AKINS, DOB 05-Dec-2007, F/10, 5th grade and Zaniah MANN,

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       DOB: 07-Dec-2011, F/6, room 212, 1st Grade). Tiara relates that during the car ride, as she was
       driving away from the school, Jomuary told her that some lady whooped him. This lady told
       Jomuary to pull down his pants and she hit him in the mouth and with a belt about the body. Tiara
       immediately called his mother Asia GAINES to inform her about Jomuary and this lady who
       whooped him in school.


       GAINES, Asia, mother
       On 21-SEP-2018, R/D's CASANOVA and DIAZ spoke with the mother Asia GAINES who relates
       that upon learning of the incident with her son Jomuary CHAMP she called the teacher Ms. K.
       HAYNES an asked her why she would allow a lady to hit her son who now has marks. GAINES
       states that HAYNES repeatedly said that she was so so sorry. GAINES relates that Jomuary was
       acting badly in school the day before and Ms. K. HAYNES she had Jomuary speak with his father
       who was at work and Jomuary told him what happened in the classroom and his father told
       Jomuary that he was not going to get a whooping for the incident. When the teacher tried to call the
       father back he didn't answer the call. GAINES relates that the school has the authorization to call
       the mother, father or Aunt Tiara TAYLOR for any problems and/or emergencies in school. GAINES
       relates Ms. HAYNES continued to be apologetic. GAINES relates that HAYNES tried getting a hold
       of the father by texting him and also texted the paternal grandmother via Facebook to get help in
       reaching the father to discuss Jamuary's behavior. HAYNES somehow reached the father's Aunt
       Juanita TYLER. GAINES relates that the father Joseph CHAMP never gave his Auntie Juanita
       TYLER permission to hit their son Jomuary CHAMP. GAINES asked the teacher Ms. K. HAYNES
       why she did not call her if she could not reach the father. GAINES also did not understand why
       HAYNES would allow Juanita TYLER to come to school on Jomuary's behalf and why she would
       provide her with a belt. GAINES relates that the Principal was on the other side of the school
       building when this incident with her son occurred. Principal Sylvia HODGE told Asia GAINES that
       Juanita TYLER had a visitor's pass and Ms. HAYNES said TYLER knew the family. Principal
       HODGE told GAINES that she heard what happened to Jomuary CHAMP through the CPS Safety
       Administrative Law Unit. GAINES took her son to West Suburban Hospital Emergency Room on
       21-Sep-2018 at 1805 hours (Medical Record#1346579/Adm# 00077070837). The mother Asia
       GAINES provided R/D's with the father's name as Joseph CHAMP and also his demographics but
       she did not know his address. GAINES knows that the father lives on the west side. Asia GAINES
       rarely sees the father. GAINES relates that the father pays child support and has visitation with the
       children. GAINES relates that she does not have a good relationship with the father.

       Photos of the victim's injuries were taken on 21-Sep-2018 by Evidence Technician Ashor WARD
       #18586 at the victim's residence located at 3817 W. West End. These photos are recorded under
       Report #379633.


       Tilton Elementary School Principal is Sylvia HODGE ELROD (223 N. Keeler Avenue, Chicago, IL
       60624, 773-534-6746)

       On 24-Sep-2018 at 1200 hours, R/D's CASANOVA and DIAZ arrived at Tilton Elementary School
       located at 223 N. Keeler Ave., Chicago, IL 60624, 773-534-6746, and met with Assistant Principal
       Quishun ELROD who informed R/D that the Principal was not available. ELROD provided R/D's
       with the use of the School Parent Room #114 to conduct the following interviews. ELROD was not

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       familiar with the incident but was very accommodating and cooperative with the investigation.
       ELROD selected (4) random students that were present on the day of the incident with Jomuary
       CHAMP. Each student interview was conducted independently and present for these interviews
       were Det. CASANOVA #20782, Det. J. DIAZ #21594 and Assistant Principal ELROD.

       LITTLE, Jai Pierre, student
       On 24-SEP-2018 at 1241 hours R/D's CASANOVA and DIAZ along with Assistant Principal
       ELROD were present for the interview of Jai Pierre LITTLE who is 9 years old (DOB: 17-OCT-
       2008). He is a student at Tilton Elementary School and is in classroom #204 with teacher Ms. K.
       HAYNES. Jai Pierre relates that on the first day of school Ms. K. HAYNES opened the classroom
       closet door and showed the students 2 leather belts that hung on the closet door. Ms. K. HAYNES
       said if you are bad I got permission from the parents to use them on you for discipline. Jai Pierre
       related that the belts had names as follows: the brown leather belt was called Mrs. BROWN and
       the black leather belt was called Mrs. BLACK. Ms. K. HAYNES said that if the students were really
       bad she would bring the long belt from home called Mr. WHITE.

       ATKINS, Kristen, student
       On 24-SEP-2018 at 1246 hours R/D's CASANOVA and DIAZ along with Asst. Principal ELROD
       were all present for the interview of Kristen AKINS who is 10 years old (DOB: 05-DEC-2007). She
       is in the 4th grade and her teacher in the morning is Ms. K. HAYNES in room #204. In the
       afternoon Kristen has Ms. Charlene HANES in room #202. In reference to Ms. K. HAYNES she has
       heard from other kids that if you're misbehaved she has belts in the closet and she will notify the
       parents and let them take care of business with the belts.

       BRYANT, Koby, student
       On 24-SEP-2018 at 1253 hours R/D's CASANOVA and DIAZ along with Asst. Principal ELROD
       were all present for the interview of Koby BRYANT who is 10 years old (DOB: 31-JAN-2008).
       Koby is in 2 classrooms, they are split classes. Koby has Ms. K. HAYNES for math in the morning
       in room 204 and has Ms. C. HANES in the afternoon in room 202. In reference to Ms. K. HAYNES
       she has told the students if they are bad she will call the parents or guardian and said she also had
       permission to pop them with the belts.

       BROWN, Keishaunna, student
       On 24-SEP-2018 at 1259 hours R/D's CASANOVA and DIAZ along with Asst. Principal ELROD
       were all present for the interview of Keishaunna BROWN who is 10 years old (DOB: 06-JAN-
       2009). Keishaunna is in Room 204 with Ms. K. HAYNES (teacher). Keishaunna relates that if the
       students are bad they are suspended for up to 2 days and if they are very bad the parents are
       called. Keishaunna has heard about the belts in the classroom and relates that Ms. K. HAYNES
       has the belts and they are kept in the classroom closet and Ms. K. HAYNES provides the belts to
       the parents. On said day of the incident with Jomuary, Keishaunna relates that she saw a little part
       of the belt when Ms. K. HAYNES got it out of the closet for the parent to use on a student, adding
       long time ago.

       The Assistant Principal then escorted R/D's CASANOVA and DIAZ to classroom #204 where the
       class closet was found to be locked also the boy's bathroom was found locked.

       CHAMP, Joseph, father

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       On 24-SEP-2018, R/D DIAZ made numerous attempts to reach the father Joseph CHAMP who
       finally called back at 1314 hours and confirmed that he never gave consent to his Aunt Juanita
       TYLER to come to the school to hit his son Jomuary CHAMP. Joseph said that he had spoken to
       his son the day before and told his son that everything would be ok.


       HAYNES, Kristen, teacher/offender #1
       On 24-Sep-2018 at 1330 hours, R/D's CASANOVA and DIAZ met with teacher Kristen HAYNES
       from classroom # 204. R/D CASANOVA read Kristen HAYNES her Miranda rights/warnings with
       Det. DIAZ present at 1331 hours. HAYNES understood each right and agreed to speak with R/D's
       CASANOVA and DIAZ. Kristen HAYNES relates that she has 2 masters/graduate degrees and 1
       bachelors/undergraduate degree in Education. HAYNES teaches Math and Science in Room 204 at
       Tilton Elementary School. HAYNES relates that the incident with Jomuary happened on Thursday
       20-Sep-2018. Jomuary CHAMP was being disruptive in the classroom on Wednesday 19-Sep-
       2018. HAYNES relates that Jomuary's bad behavior has been going on since the first week of
       school. On Wednesday 19-Sep-2018 HAYNES had a conference with the mother regarding
       Jomuary who put the father also on speaker phone and told him that Jomuary was at it again and
       that they needed to meet with the teacher. HAYNES got the father's number and texted the father
       who did not show up on Thursday 20-Sep-2018. HAYNES went into more details about what
       happened with Jomuary on Wednesday, 19-Sep-18, saying that Jomuary was disruptive in class
       and always wants to have the last word. Jomuary had gotten tally marks and she told him to call his
       father on the school phone in the classroom and while he made the call she continued to teach the
       class. Jomuary talked to his father and then hung up before HAYNES could speak with him.
       Jomuary told HAYNES that his father said that he was not getting a whopping. HAYNES got up to
       call the father and got no answer. HAYNES told two students to take Jomuary to the office but they
       returned to the classroom with Jomuary who was asking for his book bag. HAYNES told Jomuary
       that Security will get it for him. HAYNES sent the father a text message and also sent a message to
       the grandmother about trying to get in contact with the father. HAYNES also told Aunt Angel
       TYLER (now known as Juanita TYLER aka Angel) that she needed to get a hold of the father to
       talk about Jomuary's behavioral problems. Angel TYLER came to school on Thursday 20-Sep-18
       at approximately 0843 hours and class was scheduled to begin at 0845 hours. HAYNES told
       School Security that she was expecting a parent for student Jomuary CHAMP and when Angel
       TYLER arrived she signed in and was given a pass to come to Room 204. When Angel came up to
       the classroom #204, she was speaking with Nakyya and Jomuary CHAMP. Ms. K. HAYNES was
       opening the class closet because a student needed to put up their cell phones and that's when her
       belts fell out of the closet. HAYNES said she picked up the belts and Angel TYLER asked to use
       the belts. HAYNES then relates that TYLER came back to the classroom with Jomuary laughing
       and joking as she was taking attendance and said I'll be back and will bring you some money.
       When HAYNES was confronted by R/D's about what Jomuary had said HAYNES then changed her
       story and said she did go down to the boys bathroom and added that the belts are kept in her
       closet. HAYNES said parents come up to the school and need to borrow the belts to discipline their
       kids. HAYNES then said parents use the belts to only intimidate their kids. HAYNES never thought
       that Angel (Juanita TYLER) was going to hit Jomuary CHAMP. HAYNES relates that she was
       finding a room to allow Angel and Jomuary to talk and they used the boy's bathroom where Angel
       was with Jomuary. HAYNES then said she escorted Angel and Jomuary and unlocked the boy's
       bathroom for them. HAYNES denies hearing Jomuary screaming. HAYNES confirms that Angel
       asked to see the belts. HAYNES gave Angel the two belts she called Mrs. Black and Mrs. Brown.

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       HAYNES was aware that Jomuary's great Aunt was not an authorized guardian for Jomuary and
       Nakyya. HAYNES denied seeing Angel slapping Jomuary. HAYNES relates that she was multi-
       tasking in the classroom and when Angel came, Angel was hugging the kids (Jomuary and
       Nakyya). HAYNES relates that she has known Juanita TYLER only as Angel TYLER which is the
       name she uses on Facebook. HAYNES relates that she was trying to reach Jomuary's
       grandmother Mona and instead got Angel who said she would come to the school and speak with
       Jomuary about his behavior. HAYNES said the morning school routine is for the students to have
       breakfast then they come to class by 0845 hours where she collects the student's cell phones and
       homework. HAYNES again was confronted about the facts not matching and she then told R/D's
       that she will tell them what really happened. HAYNES said on said day of the incident, HAYNES
       relates that Jomuary had come late to the classroom and was coming from the other end of the
       stairs, Angel (Juanita TYLER) and HAYNES were standing by the door as the late students were
       entering the classroom. Angel talked to Jomuary about his behavior at which time HAYNES
       entered the classroom to handle the morning classroom routine and the belts fell out of the closet
       and she picked them up. HAYNES relates that Nakyya talked to Angel then hugged her. Angel then
       told HAYNES let me see them belts and let me talk to Jomuary. HAYNES said she escorted Angel
       and Jomuary to the boys bathroom and unlocked the door for Angel. HAYNES again denied
       hearing Jomuary screaming. HAYNES then admitted and agreed by nodding her head forward and
       saying yes, that she had called Angel via Facebook and allowed her to come to the school to talk
       about Jomuary's behavior and allowed Angel to discipline Jomuary by providing Angel with the
       belts and even helped Angel to take Jomuary to the bathroom that was locked and she unlocked
       the boys bathroom door for Angel and Jomuary. HAYNES still denied seeing the victim slapped by
       Angel and denies hearing Jomuary crying and screaming and then took back that she had touched
       or grabbed the victim or taking him to the bathroom with Angel and said she did not see Jomuary
       crying. In fact, HAYNES said after Angel and Jomuary returned to the classroom he was laughing
       and sat at his desk to eat breakfast and was acting his normal self. HAYNES then denied calling
       the mother to apologize. HAYNES then said she was told not to speak with the mother while this
       matter was under investigation. HAYNES relates that she agreed to come back to school but was
       to have no contact with the Jomuary who wasn't present in school today (24-Sep-2018) so she
       resumed her classroom. HAYNES relates that she has known Jomuary since he was in
       Kindergarten and loves him. HAYNES relates that some parents have come to school and take
       these students to the bathroom. HAYNES then admitted she did retrieved the belts from the closet
       in room 204 and also said she went to boy's bathroom with Angel and left Jomuary with her and
       returned back to her classroom. HAYNES went back and forth with her story but ultimately
       admitted to her participation. HAYNES related that the two belts were still in her classroom closet
       and agreed to accompany and open this locked closet for R/D's CASANOVA and DIAZ. HAYNES
       confirmed that the belts were called Mrs. Black and Mrs. Brown. Photos of the classroom and the
       belts in the closet were taken. The belts were recovered as evidence and inventoried. R/D's and
       HAYNES returned to the School Parent Room and HAYNES was placed under arrest at 1435
       hours. R/D's on the way out of the school passed the security desk and obtained a copy of the
       sign-in log for 20-Sep-2018 which showed that offender #2 Aunt Juanita Tyler had signed the log
       to visit room 204. R/D's transported arrestee/teacher Kristen HAYNES to Area North Detective
       Division at 1438 hours. R/D's CASANOVA and DIAZ arrived at the Area North Det. Div. with Kristen
       HAYNES at 1515 hours and placed her in holding Room E while processing her, then sent her to
       the lock-up. HAYNES was allowed to use the bathroom and was offered chips and water. R/D's left
       the holding room door cracked open because HAYNES felt a little claustrophobic with the door
       closed.

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       On 24-Sep-2018 at 1723 hours, a Progress Supplementary Report was generated to include CPS
       teacher Kristen HAYNES as an offender in this case and not a witness because she had assisted
       in carrying the victim to the bathroom along with offender#2/Juanita TYLER and had provided the
       belts to TYLER which endangered the victim's life.

       Offender #1/teacher Kristen HAYNES was charged with Battery: make physical contact and
       Endangering life/health of a child. Court Branch 43-2 on 08-Oct-2018.

       The (2) leather belts (Black and Brown in color) were inventoried under Inventory# 14270308 on
       24-Sep-2018.

       From the above investigation, R/D's CASANOVA and DIAZ were able to identify offender #2 who is
       the fathers Aunt Juanita TYLER aka Angel.

       On 27-Sep-2018 at 1745 hours, R/D's CASANOVA and DIAZ relocated to 3638 W. Thomas, the
       residence of Juanita TYLER. R/D's repeatedly knocked on the door and an unknown woman
       answered from behind the door but she refused to open the door for the police. R/D ran several
       vehicle plate numbers parked in front of the residence and were able to identify which vehicle that
       belonged to Juanita TYLER (A Mercury Milan with IL Plate # AT79599). R/D's then enlisted help
       from the CPD Fugitive Apprehension Unit (FAU) to locate and apprehend Juanita TYLER (DOB:
       26-SEP-1962, F/1/56, 3638 W. Tomas St. #2, Chicago, IL 60651, IR# 1016558).

       On 28-Sep-2018, R/D's were notified by the FAU P.O. Manny SOLIS that Juanita TYLER had
       turned herself into custody at 3151 W. Harrison Street at 1725 hours for an incident (Domestic
       Battery) that occurred at Tilton Elementary School on 20-Sep-2018 that involved victim/student
       Jomuary CHAMP M/9yo.

       R/D's CASANOVA and DIAZ relocated to 3151 W. Harrison St. to interview offender #2/Paternal
       Great Aunt: Juanita S. TYLER aka Angel.

       TYLER, Juanita, great aunt/offender #2
       On 28-Sep-2018 at 1832 hours R/D CASANOVA gave Juanita TYLER her Miranda Warnings
       while Det. Jose DAIZ was present. TYLER understood each right and agreed to speak with R/D's
       CASANOVA and DIAZ. TYLER relates that the teacher Kristen HAYNES contacted her on
       Facebook because she was trying to get in touch with the family of student Jomuary CHAMP. The
       school had been dealing with her nephew's (Jomuary's) behavioral problems for the past 2.5 years
       and wanted to reach the father Joseph CHAMP. TYLER relates that she is the father's Aunt and
       that he has two children named Nakyya and Jomuary CHAMP. Juanita said Joseph is her sister's
       son which is her nephew. TYLER relates that she has known teacher Kristen HAYNES since they
       were kids and they are good friends. TYLER said that she last saw Nakyya and Jomuary about 6
       months ago at a family dollar store. TYLER said she is the great Auntie to the children. TYLER
       relates that the father Joseph came to her place on Thomas Street and told her about a place for
       treatment at Garfield Park Hospital for Jomuary's behavioral problems which are becoming more of
       an emergency matter at school. TYLER relates that the father wanted TYLER to go with him to the
       school. TYLER calls the father Joseph CHAMP by the nickname Chub Chub. TYLER said that the
       mother was not getting along with the father. TYLER said that she agreed to meet the father at
       school to speak with the teacher regarding Jomuary's behavior. TYLER waited outside of the

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       school then decided to enter the school to check if the father had arrived. TYLER said she saw the
       Principal who greeted her with a handshake. TYLER said the Principal was glad that she was at the
       school to address the matter involving her out of control nephew Jomuary CHAMP. TYLER said the
       principal and security gave her a visitor's pass and she signed the log at the security desk. TYLER
       relates that a big lady with glasses directed her to the stairs. TYLER took the stairs up to classroom
       #204. TYLER relates that the students hadn't come into the school classroom yet. TYLER was
       already at the classroom door with the teacher Ms. K HAYNES. As Jomuary approached the
       classroom door Ms. HAYNES put her hand on Jomuary's face and mouth and told him to be quiet.
       TYLER told HAYNES don't do that. HAYNES said she had permission from the parents to whoop
       these kids. TYLER told her don't do it. TYLER denied hitting Jomuary with her hands or belt. Ms.
       K. HAYNES told Juanita TYLER do you need a belt and got 2 belts. Again TYLER denies hitting
       Jomuary. TYLER said she went to the bathroom because she had to piss. TYLER said I swear to
       god I didn't hit the kid (Jomuary) and continued to repeatedly deny hitting him. TYLER then admits
       being in the bathroom with Jomuary to talk with him so he would not be embarrassed and so that
       he would not run out. TYLER said that teacher HAYNES stayed outside the bathroom door and yes
       she opened the bathroom door with a key for her. TYLER said if there's video, show me because
       you will see me holding her great nephews (Jomuary) hand and he had stopped crying and said
       she told him she was just there to talk to him. TYLER kept saying she was just talking to Jomuary
       in the bathroom. When R/D's asked about using the belts and slapping Jomuary CHAMP, Juanita
       TYLER said I don't recall doing it. R/D's told TYLER that students saw her take the belts. TYLER
       then admitted having the belts with her but said she was only using them to scare him (Jomuary).
       TYLER said that her nephew who is Jomuary's father, who she calls Chub Chub, told her about
       Jomuary's behavioral problems and how he wasn't listening to no one. TYLER said that's why she
       was at the school and that's why she took Jomuary to the bathroom to talk with him and not
       embarrass him in front of his class. TYLER said she took the belts to the bathroom and said she
       asked Jomuary, do they hit you with the belts. TYLER was crying throughout the interview and
       when asked if she didn't hit Jomuary then how did he get the linear marks on his back and legs.
       TYLER would not answer any more questions at which time R/D's CASANOVA and DIAZ
       terminated this interview.

       Juanita TYLER was charged with Domestic Battery and sent to Bond Court on 29-Sep-2018
       followed by a Court Date on 24-Oct-2018, Branch 60-2.

       Base on the above investigation, R/D is requesting this case be classified: CLEARED and CLOSED
       by ARREST AND PROSECUTION.

       Report of:
       Detective Alice Casanova #20782
       Detective Jose Diaz #21594
       Area North Detective Bureau
       Special Victim's Unit




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